UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

INITIAL APPEARANCE CALENDAR
1) Magistrate Case Number: 11-499 M

2) - Defendant’s Name: Rosemond James
: (Last) {First} (M.I)
3) Age:
4) Title: Section(s):
5) . Citizen of: Needs: Interpreter
6) , Arrest Warrant Issued: Date and time of arrest:

(Items 1-6 to be completed by AUSA/Arresting Officer)
7) ° Removal Proceeding: Yes No —_ Other District:

8) Name of Interpreter used today: Language:
9) Arraignment on complaint held:__ X Yes No Date/Time: 6/21/11
10). Detention Hearing Held:___ Bail set at: ROR Entered:___ ~POD rntered:
11} Temporary Order of Detention Entered:____ Bail Hearing set for: Z
12) (a) Preliminary Hearing set for: ; or waived: VZ
(b} Removal Hearing set for: ; or waived:

(c) Status Conference set for:

13) ASSISTANT U.S. ATTORNEY: Todd Kaminsky
14) DEFENSE COUNSEL’S NAME: On paLr4 Lic Rima
. Address: sue
Bar Code: 2 CJA: FDNY: RET: 4

Telephone Numbef"( }

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sy Ltoc# ZL AT 4 : MAG. JUDGE: Viktor Pohorelsky

16) Defendant was advised of bond conditions by the Court and signed the bond.
: Surety (ies) were sworn and advised of bond obligations by the Court and signed the bond.
; Additional surety (ies) to co-sign bond by

Other Comments/Rulings:

17) Complaint/Affidavit/Indictment unsealed:___ Yes ___No

SO ORDERED ON THIS DAY OF , 20__

UNITED STATES MAGISTRATE JUDGE
